                       Case 1:23-mj-00029-RMM Document 1 Filed 02/03/23 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                           for the
                                                                 District of &ROXPELD

                  United States of America                                    )
                             v.                                               )
                                                                              )       Case No.
                        Jason Farris
                                                                              )
                       DOB: XXXXXX                                            )
                                                                              )
                                                                              )
                            Defendant(s)


                                                      CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                        January 6, 2021                     in the county of                                               in the
                           LQWKH'LVWULFWRI         &ROXPELD , the defendant(s) violated:

              Code Section                                                               Offense Description
        18 U.S.C. § 1752(a)(1) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful Authority,
         18 U.S.C. § 1752(a)(2) - ) knowingly, and with intent to impede or disrupt the orderly conduct of Government business or official
        functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted building or grounds when, or so that,
        such conduct, in fact, impedes or disrupts the orderly conduct of Government business or official function,
        18 U.S.C. § 1752(a)(4) - knowingly engage in any act of physical violence against any person or property in any restricted building or
        grounds; or attempts or conspires to do so,
        18 U.S.C. § 111(a)(1), which makes it a crime for anyone to forcibly assault, resist, oppose, impede, intimidate, or interfere with any United
        States law enforcement officer while that officer is engaged in the performance of their official duties,
        18 U.S.C. § 231(a)(3) - Obstruction of Law Enforcement During Civil Disorder.
          This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




          9
          u   Continued on the attached sheet.


                                                                                                             Complainant’s signature

                                                                                                   William Anthony Floyd, Agent
                                                                                                              Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH
                                                                                      Robin M.                             Digitally signed by Robin M.
                                                                                                                           Meriweather

Date:             2/3/2023                                                            Meriweather                          Date: 2023.02.03 17:24:26
                                                                                                                           -05'00'
                                                                                                                 Judge’s signature

City and state:                         :DVKLQJWRQ'&                                 Robin M. Meriweather, U.S. Magistrate Judge
                                                                                                              Printed name and title
